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                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,
                                                         Case No. 1:18-cv-00950-LO-JFA
v.

COX COMMUNICATIONS, INC., et al.,

         Defendants.



                   UNOPPOSED MOTION FOR WITHDRAWAL OF COUNSEL

            Pursuant to Local Rule 83.1(G), Local Rule 7, and Federal Rule of Civil Procedure 7,

     Plaintiffs respectfully request that Kerry M. Mustico be permitted to withdraw as counsel of record

     in this matter. The reason for the request is because Ms. Mustico has resigned her employment

     with Oppenheim + Zebrak, LLP. Defendants do not oppose this motion.

            No other changes are requested regarding the other attorneys acting as counsel of

     record for Plaintiffs. Plaintiffs will continue to be represented by the other attorneys of record

     from Oppenheim + Zebrak, LLP.




                Respectfully submitted,

                Dated January 30, 2020                     /s/ Scott A. Zebrak    /




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